       Case 21-06686                 Doc 13          Filed 08/26/21 Entered 08/26/21 23:18:46                       Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1
                       Abbey Joy Clement                                           Social Security number or ITIN   xxx−xx−9499
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Northern District of Illinois

Case number:          21−06686


Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Abbey Joy Clement


             August 24, 2021                                               For the court: Jeffrey P. Allsteadt, Clerk
                                                                                          United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 21-06686-LAH
Abbey Joy Clement                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 24, 2021                                               Form ID: 318                                                              Total Noticed: 13
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 26, 2021:
Recip ID                   Recipient Name and Address
db                     +   Abbey Joy Clement, 520 Kraker Ave, Joliet, IL 60432-2024
29376729               +   Advanced Midwest Radiology, 6801 W. 73rd St. Unit 637, Bedford Park, IL 60499-5322
29376730               +   Advanced Midwest Radiology, PO Box 88953, Milwaukee, WI 53288-8953
29376732               +   Comprehensive Pathology, 26570 Network Place, Chicago, IL 60673-1265
29376733               +   EM Strategies, PO Box 1027, Bedford Park, IL 60499-1027
29376734               +   Fire Recovery USA, 2271 Lava Ridge Court, Suite 120, Roseville, CA 95661-3065
29376736               +   Kia Finance, PO Box 650805, Dallas, TX 75265-0805
29376737               +   Kia Motor Finance, 4000 Macarthur Blvd, Newport Beach, CA 92660-2558
29376738               +   Kia Motor Finance, PO Box 20835, Fountain Valley, CA 92728-0835

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QPNMETROU.COM
                                                                                        Aug 25 2021 02:13:00      Peter N Metrou, Metrou & Nemiroff PC, 123 W
                                                                                                                  Washington St Suite 216, Oswego, IL 60543-8298
29376731                   Email/Text: hkukla@byrider.com
                                                                                        Aug 24 2021 22:11:00      CNAC, 2345 W. Jefferson St, Joliet, IL 60435
29376735                   Email/Text: hkukla@byrider.com
                                                                                        Aug 24 2021 22:11:00      JD Byrider, 2345 W. Jefferson, Joliet, IL 60435
29376739               + Email/Text: mmrgbk@miramedrg.com
                                                                                        Aug 24 2021 22:12:00      Silver Cross Hospital, c/o Miramed Revenue
                                                                                                                  Group, PO Box 77000, Detroit, MI 48277-2000

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 26, 2021                                            Signature:           /s/Joseph Speetjens
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                                                   Certificate of Notice Page 4 of 4
District/off: 0752-1                                              User: admin                                                           Page 2 of 2
Date Rcvd: Aug 24, 2021                                           Form ID: 318                                                        Total Noticed: 13



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 24, 2021 at the address(es) listed
below:
Name                             Email Address
Christina Banyon
                                 on behalf of Debtor 1 Abbey Joy Clement cbanyon.law@gmail.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Peter N Metrou
                                 trustee7@metandnem.com pmetrou@ecf.axosfs.com


TOTAL: 3
